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IN THE UNITED STATES DISTRICT COURT

 

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UNITED STATES OF AMERICA
Plaintiff,
VS. CR. NO. 05-20081-D

MITCHAEL BARRINGER
Defendant.

 

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AND SETTING

 

This cause came on to be heard on September 2, 2005, the United
States Attorney for this district, Tony R. Arvin, appearing for the
Government and the defendant, Mitchael Barringer, appearing in person
and With counsel, April Rose Gooder Who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for WEDNESDAY, DECHHBER 7, 2005, at
1:30 P.M., before Judge Bernice B. Donald.

Defendant is remanded to the custody of the U. S. Marshal.

Em-Ezuzn this thez,¢(aay of september, 2005.

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:05-CR-20081 Was distributed by faX, mail, or direct printing on
September 8, 2005 to the parties listed.

 

 

April Rose Goode

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Honorable Bernice Donald
US DISTRICT COURT

